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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KRAFT FOODS GLOBAL, INC., THE         )
KELLOGG COMPANY, GENERAL MILLS, INC., )
and NESTLÉ USA, INC.,                 )                            No. 1:11-cv-08808
Plaintiffs,                           )
                                      )                            Judge Steven C. Seeger
                  v.                  )
                                      )
UNITED EGG PRODUCERS, INC., UNITED    )                            ORAL ARGUMENT
STATES EGG MARKETERS, INC., CAL-MAINE )                            REQUESTED
FOODS, INC., MICHAEL FOODS INC., and  )
ROSE ACRE FARMS, INC.                 )
Defendants.

                DEFENDANT ROSE ACRE FARMS, INC.’S
  MOTION FOR JUDGMENT AS A MATTER OF LAW PURSUANT TO RULE 50(a)

       For the reasons set forth in the accompanying memorandum of law, Defendant Rose Acre

Farms, Inc. (“Rose Acre”), by and through its attorneys, moves pursuant to Rule 50(a) of the

Federal Rules of Civil Procedure for judgment as a matter of law dismissing Plaintiffs’ claims.


Dated: November 15, 2023                     Respectfully submitted,


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